Case

Chrislopher A, Vil!asenor, ]§lsq. (SBN 1471 18)
CATALYST LAW GROUP

A PROFESSIONAL CORPORATION
971() Scranton Road, Suite 170

San Diego, CA 92121

Telephone: (858) 450-0099

Facsimife: (858) 450-9834

Attoruey for Plaintiffs

CORPORATION

JAMES GROOMS, an individual;
BRYCEMARIB PHELAN, an individual;
KNUKLE, INC., a C()loz'ado corporation,

Piaintiffs,
VS.

JOHN LEGGE, an individual; GWEN
LEGGE, an individual; KNUKLE, iNC., a
Califomia corporatic)n; ARTILLERY
DISTRIBUTION, an unknown entity; SEAN
MYERS, an individual; DEVPN MERCADO,
an individual;; and DOES 1 through 50,
inclusive,

Defendants.

 

 

 

3:09-Cv-OO489-|EG-WVG Document 34 Filed 03/31/09 Page|D.889 Pagelof 17

JAMES GROOMS AND BRYCEMARH§ PHELAN AND KNUKLE, INC., A COLORADO

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

Case NO. 09€\/0489 IEG POR

REPLY IN SUPPORT OF PLAINTIFFS’
MOTION FOR PRELIMINARY
INJUNCTION

REPI_,Y IN SUPPORT` ()l"` PLAINTZ`§FS" MOT[ON FOR PREI..[M[NARY INJ§JNCTION

CASE NO. 09€\/0¢§89 IEG POR

 

Case

2

b)

U\

10
11
12

14
15
16
17
18
19
20
21
22

24
25
26
27
28

3:09-cV-OO489-|EG-WVG Document 34 Filed 03/31/09 Page|D.SQO PageZof 17

TABLE OF CONTENTS

1. PROCEDURAL BACKGRO UND ..............................................................

1.

,,
_J.

4.

11. POINTS AND AUTHORITlES ...................................................................

A. This Cc)m't Should Grant P}aintiffs’ Application for Preliminary 1njuncti0n
for the Same Reasons This Court Granted Plaintiffs’ Application for
Temporary Resiraining Order ................................................................

B. Answering Defendants Offer Weak and Unsubstantiated Facts in
Response 10 Plaintiffs’ Factual Showing ........................................................

Pfaintiffs’ Claims For Federal and State Unfair Competition
Will Succeed ..........................................................................

Plaintiffs’ Claim For Tortious 1nterference with Prospective
Adv&ntage WiH Succeed .............................................................

Plaintiffs’ Ciaim for Conversion Wi]l Succeed ..................................

Pfaintiffs’ CIaim F 01‘ Cybersquatting Wi11 Succ@ed .............................

C. Answering Defendan.ts’ Cont:‘overted Facts Shou!d Nc)t Impact

This Cour:t’$ irreparable Harm Or Baiancing of the Hardships Anafyses ................

D. Th<:': Bond Ah'eady 1303th By P]aintiffs AS Ordered by This Court Should Sta.nd .....

E. Plaintiffs Request Further 1njunctive Reli€f to Avoid Further lrreparable
Harm Based Upon New lnfc)rmation ............................................................

111. CONCLUSION ......................................................................................

i

 

 

REPLY IN SUPPORT OF PLA!NT!FFS’ MO"I`ION FOR PRELIMINARY EN}UNCTEON

l.).)

10

11

11

14
14

CASE NO. 09CV0489 IEG POR

 

Case

\'DOO-~.]O\

10
11
12
13
14
15
16
17
18
19
20
21
22

24
25
26
27
28

3:09-cV-OO489-|EG-WVG Document 34 Filed 03/31/09 Page|D.SQl PageSof 17

TABLE ()F AUTHORITIES
Qg_s§
Applied Info. Scr.'e)'zces Cc))~p. v. eBay, fnc., 511 F.3d 966, 969 (9111 Cir. 2007) ......................... 5
Caa’ence Desz`g)/z Systems, 111€. v. Avcmf! Corp., 125 F.3d 824 (9th Cir. 1997) ....................... 4, 12
E.F. Prichard CO. v. Corzsume:-‘S Brewz'ng Cc)., 136 F.2615.12, 521 (6111 Cir. 1943) ..................... 8
Emergency One, lnc., v. Am. Fi)‘e Eagle Engine Cc)., fnc:., 332 F.3d 264, 267 (4lh Cir. 2003) ........ 6
Gz'eacen v. 13611, 115 F. 553, 554 (D. N.J. 1902) ............................................................. 8
Hotmail C()z”p. v. ch$ 111/loney Pz`e 1nc., 1998 WL 388389 at *8 (N.D. Cal. April 16, 1998) ........ 12
1111 l Om'e) of 1019 s‘ Daughlem v Lz`ndenbwg and Co., 11ch 332 F 3d 264 267
(4"‘€11.2003) ................................................................................................... 5
Kenda11- jackson Winefy, Ltd. 1/. E. &J. Gallo Wine!y, 150 F. 3d 1042 1047 11. 7
(9h Ci1. 1998) ................................................................................................... 6
Kl`dd v. Johnson, 100 U.S. 617 (1879) ....................................................................... 8
Visic)n Sports, 1110 v. Melviz'le Corp., 888 F.Bd 609, 612 11.3 (9111 Cir. 1989) ............................ 11
M
Ca]. Business & Professions Cc)de § 17200 ................................................................. 5
lanham Act, 15 U.S.C. §1125 ........................................................................ 3, 4, 5, 6

ii

 

REPLY fN SUPPORT OF PLAENT§FFS’ MOTION FOR PRELEMINARY INJUNCTION

CASE NO. 09CV0489 IEG POR

 

 

Case

[\..)

bJ

3:09-cV-OO489-|EG-WVG Document 34 Filed 03/31/09 Page|D.892 Page4of 17

i. PROCEBURAL BACKGROUND

Plaintiffs Jaines Gi'ooms and Bryceinarie Phelan (collectively, “Plaintiffs”) filed an EX Parte
Application for Temporary Restraining Order and Order to Show Cause RE: Preiiminary hijunction
(“Piaintiffs’ Application”) seeking various prohibitory and mandatory injunctions alleging claims
against Defendants John Legge, Gwen Legge, Knul<le, lnc., a Caiifornia corporation (collectively,
“Answering Defendants”), Artillery Distribution, an unknown entity, Sean Myers, and Devin
l\/lercado for federal and state unfair competition, cyberpiracy, tortious interference with
prospective economic advantage, and conversion (the “Injunction Claims”).

The Court heard oral argument on l\/[arch 16, 2009 at 10:30 a.in., but Answering Defendants
failed to appear.l On March 17, 2009, this Court granted Plaintiffs’ Application and issued a
Teinporary Restraining Order (hereinafter, “TRO”). After more than a week of attempts by
Pfaintiffs’ counsel to secure compliance by Answering Defendants with the TRO, Plaintiffs filed
with this Court an Ex Parte Application for Order to Show Cause RE: Conternpt, Sanctions,
Attorneys’ Fees for Violation of the Court’s TRO on Wednesday, March 25, 2009.

On l\/larch 16, 2009, following oral argument before this Court, Answering Defendants
filed an untimely Opposition to Plaintiffs’ Ex Parte Application for 'feniporai'y Restraining Order

(hereinafter, “Answering Defendants’ First Opposition”).2 On March 27, 2009, the Answering

 

l To date, although other Defendants have been named in this matter (specit`icaliy, Artillery Distribution, Sean l\/lyers,
and Devin 1\/1ercado)1 plaintiffs have been unable to serve them despite expanding diligent efforts to do so. These
Defendants, too, failed to appear at the OSC hearing on `March [6, 2009 at 10:30 a.m. While these Defendants have
notice of this matter as evidenced by the fact that they provided sworn deciarations in support of Answering
Defendants’ untimely Opposition to Plaintiffs’ Ex Parte Application for Teniporary Restraining Order fried with this
Court after the OSC hearing, they have refused to provide Plaintiffs with an adequate address at which they can be
served despite judge Battaglia’s Order to do so.

2 Answering Defendants’ Second Opposition claims in a footnote on Page 2 that “Plaintiffs were able to avoid an
opposition to the TRO by providing counsel for Legge, l\/ir. jain, the wrong date for the ex parte application
Declat'ation of Rajiv .lain (“.Iain Decl.”), at ii 5.” Mr. jain`s declaration includes Exhibit “C”, which purports to be a
copy of fjlaintiffs’ Ex Parte Appiication for 'l`emporary Restraining Order with a redacted date of “i\/larch 17, 2009.”
This is completely false, misleading to the Court and a further example of Defendants’ bad faith tactics. Piaintiffs’
original fix Parte Appllcation for Temporary Restraining Order included a handwritten date of °‘l\/larch 16, 2009”
inserted by iJlaintiffs’ counsel’s paraiega§1 l\/ls. Vicl<ie Johnson. (Declaration of Vickie johnson (“Johnson Decl."), at 11
4, and a true and correct copy of the file stamped version of the original document is attached thereto as E>thibit “2”).
Attac§ied to l\/ls. Johnson’s declaration as Exhibit “3” include Advanced Attorney Sei‘vice Process Service lnstraction
lnvoices, which are examples of her handwriting showing the way she writes “75” at least 16 times; each with a slash
through the middle of the “7”. (Johnson Deci., Exhibit “3”). The “7" in Exhibit “C” to l\/lr. Jain’s declaration has no
slash. Ms. iohnson prepared the Ex Parte Application for Temporary Restraining Order and Court’s Order to Show
Caase RE: Plaintiffs’ Ex Parte Appiication for ’l`emporary Restraining Order dated l\/larch ii, 2009 to Advanced

Page l

REPLY lN SUPPORT OF Pl,AIi\iTlFFS` l\/IOTION FOR PRELIMINARY INJUNCTION
CASENO. 09CVO489 lEG POR

 

 

Case

l\) >-

L».}

3:09-cV-OO489-|EG-WVG Document 34 Filed 03/31/09 Page|D.893 Page$of 17

Defendants iiied Defendants Legge and Knukle, lnc.’s Response and Opposition to OSC RE:
Plaintiffs’ Ex Parte Application for Teniporary Restraining Order (hereinafter, “Answering
Defendants’ Second Opposition”). Pursuant to the terms of the TRO, Plaintiffs’ Reply to
Answering Defendants’ First and Second Oppositions had to be filed with this Court by Tuesday,
l\/iarch 31, 2009 at 12:00 p.m. Accordingly, Plaintiffs hereby respectfully submit this Repiy in
Support of Piaintiffs’ Application (hereinafter, this “Repiy”) in compliance with the TRO.

II. POINTS AND AUTHORITIES

A. This Court Should Grant Plaintiffs’ Application for Preliminary Injtmction for the
Same Reasons This Court Granted Piaintiffs’ Appiication for Ternporary
Restraining Order.

This Court’s Order affirmatively states that the Ninth Circuit uses the same two alternative
tests to evaiuate the propriety of issuing a temporary restraining order or a prehniinary injunction
(Order on Ptaintiffs’ Motion for a Teinporary Restraining Order dated l\/iarch 17, 2009, page 6,
lines 17-24). As noted above, this Court granted Plaintiffs’ Applicarion on Marck 17, 2009
finding that, among other things: i) Plaintiffs were likely to succeed on the merits of their
lnjunction Claiins; 2) Answering Defendants appeared to have acted in bad faith; 3) Plaintiffs
would suffer irreparable harm in the absence of relief; and 4) the balance of hardships weighed in
favor of granting Piaintiffs’ application for temporary restraining order. As a result of the
foregoing, Piaintiffs were granted certain prohibitory and mandatory injunctions by this Court.

Nothing in Answering Defendants’ First and Second Oppositions (collectively, their

“Oppositions”) changes the fundamental facts justifying an injunction in this case. ln their

 

Attorney Service which was served on the Answering Defendants, and both documents included the l\/‘larch 16, 2009
date. (See iohnson Decl. at ‘M 4-6 and 8-9; Deciaration of PKA. Rodriguez, at il 3-6). l\/ls. Johnson and the process server
who took possession of the documents and served the Answering Defendants, both declared that no one made a revision
to the original document and that the documents with the March 16, 2009 date were served on Answering Defendants.
(See Johnson Decl. at M 8 and 9; Decla:‘ation of P.A. Rodriguez, at 11 5). Furthermore, neither Answering Defendants
nor their counsel dispute that they received the Court’s Order to Show Cause RE: Plaintiffs’ Ex Parte Application for
Temporary Restraining Order dated March 1 l, 2009, which also inciuded the i\/larch §6, 2009 date. Moreover,
Answering Defendants and/or their counsel could have consulted PACER, or contacted this Conrt`s clerk, 01' Plaintiffs’
counse§ at anytime from i\/larch l l through i\/‘.iarch 16, 2009 to ensure that they had the correct date for the hearing if
they received notice of two different dates. They failed to do so. Accordingly, Answering Defendants’ argument that
Piaintiffs’ counsel and/or agents attempted to avoid the Answering Defendants’ participation at the OSC hearing
Scheduled on March 16, 2009 is pure chicanery and preposterous
Page 2
REPL,Y m suPPoRr oF PLAiN'riFFs’ rvio'rioN ron i>iu;~:i,,iMzNAnY injunction

 

CASE NO. 09CV0489 IEG POR

 

Case

3:09-cV-OO489-|EG-WVG Document 34 Filed 03/31/09 Page|D.894 Page€ot 17

Oppositions, Answering Defendants offer this Court the same facts as those set forth in Plaintiffs’
moving papers with only a handful of material d.ijj'erences. Answering Defendants offer no
credible evidence to dispute Plaintiffs’ likelihood of success on the merits of their lnjunction
Claims, hut instead evince the attitude that because they have purportedly invested into expanding
the personal and inteliectual property that they misappropriated from Piaintiffs, it would be unjust
to stop them now - irrespective of Plaintiffs’ property rights The Lanhain Act, however, does not
view intensive unfair competition as a defense to liabiiity.

Thus, if the materially different facts that Answering Defendants provided in their
Oppositions are either suspect, or legally insignificant to: l) Plaintiffs’ likehhood of success on the
merits of their injunction Claiins; 2) the possibility of irreparable injury to Plaintiffs if a preliminary
injunction is not granted by this Court; and 3) this Coiut’s balance of hardships analysis, this Conrt
should grant Piaintiffs’ a preliminary injunction for the same reasons this Court granted Plaintiffs’
Ex Parte Application for Teinporary Restraining Order. Accordingly, the baiance of this Reply will,
first, set forth those disputed facts, and second, explain why each disputed fact is suspect or legally

insignificant to this Court`s analysis whether to grant Piaintiffs continued injunctive relief

B. Answering Defendants Of'fer Weak and Unsubstantiated Facts in Response to
plaintiffs’ F actual Showing.

Plaintiffs have submitted substantiai evidence in support of their Appiication. Answert'ng
Defemlants, on the other hand, have submitted weak and unsubstantiated evidence in their
Oppositl°ons that was not already before this Com't when it granted P[ainti'ffs’ Application_
Answering Defendants concede almost every material fact relevant to Plaintiffs’ injunction Claims.
The only material facts that Piaintiffs offered in their moving papers that are disputed by Answering

Defendants’ declarations are the following:

i) Plaintiffs declared that Answering Defendants John and Gwen Legge formed Answering
Defendant Knul<le, inc., a California corporation (hereinaiter, “Knukle Two”) without their
knowledge consent, or participation (Deciaration of James Grooms (“Grooms Deci.”), at iii
27; Deciaration of Brycemarie Phelan (“Phelan Decl.”), at ‘ll 21), WHEREAS Answering
Defendants John and Gwen Legge declared that they formed Knul<le Two with Plaintifj%’
knowledge consent, and participation Declaration of John Legge (“.1. hegge Decl.”), at 11

Page 3
REPLY li\l SUPPORT OF PL/\INTIFFS’ l\/iOTlON FOR PREL[l\/IINARY INJUNC'I`ION
CASEN0.09CV04891EG POR

 

 

Case

3:09-cV-OO489-|EG-WVG Document 34 Filed 03/31/09 Page|D.895 Page?of 17

10; Declaration of Gwen Legge (“G. Legge Decl.”), at i lO; Deposition of .lohn Legge (“.l.
Legge Depo.”), at page 38, lines 22-25, pages 39~47).3

2) Plaintiffs declared that they did not agree to transfer their rights in the l\/larks and Narnes
(defmed below) to Knukle Two, a company of which they had no prior knowledge of or
ownership in (Grooms Decl., at ilil 3, 45, and Exhibit “l” attached thereto; Phelan Decl., at
ili 3, 37), WHEREAS Answering Defendants John and Gwen Legge declared that
Plaintijjfs orally agreed to do so. (.l. Legge Decl., at il 7; G. Legge Decl., at il 7).

3) Plaintiffs declared that they invested approximately $20,000 into building the “Knukle Inc”,
“Knukle, lnc.” and “Knukle” trademarks and trade names (Supplemental Declaration of
Brycemarie Phelan (“Phelan Supp. Decl.”), at il 2), WHEREAS Answering De'fendants
calculated Plaintijjfs’ investment at approximately $1,486.95. (Answering Defendants’
Second Opposition, page 4, lines 22-25).4

4) Plaintiffs declared that, to their knowledge, Answering Defendants paid approximately
$42,000 towards expanding the “Knul<le lnc”, “Knukle, lnc.” and “Knul<le” trademarks and
trade names before Answering Defendants converted Plaintiffs’ personal and intellectual
property (Groorns Decl., at il 28; Phelan Decl., at il 22), WHEREAS Answering Defendants
declared they have paid approximately $77,55 7 before their falling out with Plaintiffs in
December 2008. (.l. Legge Deci., at il 25; G. Legge Decl., at il 22).3

 

3 Answering Defendants make this claim but then Defendant Legge testified that Plaintiffs were never issued any shares
by Knul<le Tvvo, never elected as directors of Knukle Two, never appointed as officers of Krrultle iwo, never offered a
shareholder agreement from Knul<le Two, never made employees of Knukle Two, never offered a dollar from sales
conducted by Knukle Two, never invited to a single meeting of Knul<le Two, special or annual, and never included as a
signatory to Knulde Two’s bank account (J. Legge Depo., at pages 39-47). Untenahly, Answering Defendants argue
that there is a 50/50 ownership of the l\/Earks and Names (defmed below) between themseives and the Plaintiffs in
support of their opposition to Plaintiffs’ lnjunction whiie, in the same breath, argue that Plaintiffs have no ownership
interest in l<nul<le 'l`wo, the company that Answering Defendants beiieve owns those Marks and Narnes. (J. Legge
Decl., at il 12; J. Legge Depo., at page 108, line 25, and page 109, lines 1~6). There was rio consideration given to
Plaintiffs in exchange for Answering Defendants’ purported agreement to transfer the l\/Iari<s and Names. Therefore,
Answering Defendants’ argument is not credible and should be disregarded

4 Answering Defendants’ calculation is based on Plaintiffs’ hurried ex parte submission Plaintiffs declared under oath
that they have spent approximately $20,000 on the “Knukle, lnc.” enterprise, to date. (Phelan Supp. Decl. at il 2).
Plaintiffs are currently in the process of gathering documentary proof of the same. (Phelan Supp. Decl. at il 2).
However, just because documentary proof to that effect has not yet fully been provided, that does not mean Plaintiffs
have only spent that amount that they have proven Accordingly, the fact that Plaintiffs have expended significant funds
and efforts on the “Knul<le, Inc.” enterprise (which is uncontrovertedz only purportedly varied) is as strong as it was
when this Court found in favor of Plaintiffs on the irreparable injury and balance of harms prongs of its injunction
inquiry. _

3 Although Answering Defendants’ imply that it is important that they spent more money than declared by
P§aintift`s on the property they converted from Plaintiffs, that fact is neither material to the issues before the Cornt, nor a
iega§ly recognizable harm. See Cadence Design Syste)ns, lnc. v. Avaml Corp., l25 F.Sd 824 (9th Cir. i997) (in a
Copyright case, ‘“[w]here the only hardship that the defendant will suffer is lost profits from an activity which has been
shown likely to be infi‘inging, such an argument in defense merits little equitable consideration.”’ (citations omitted and
emphasis added]). As noted ai)ove, the Lanhani Act, does not view intensive unfair competition as a defense to liability

Page 4
REPLY l`:\l SUPPOR'§` OF PLAINTIFFS’ MO?ION FOR PR}E`,[sll\/IINARY lN.lUNCTlON

 

CASE NO. 09CVO489 IEG POR

 

Case

10
ll
i2

14
15
16
l'l
lS
19
20
21
22

24
25
26
27
28

3:09-cV-OO489-|EG-WVG Document 34 Filed 03/31/09 Page|D.896 PageSof 17

5) Plaintiffs declared that in the early evening on December l6, 2008, they received a phone
call from Defendants Sean Myers and Devin Mercado explaining the contents of a
conversation they had just had with Answering Defendant .iohn Legge where he told them
that he and Gwen Legge were going to “go behind Plaintiffs’ backs” and start a new brand,
“Knukle lnc” with the second “k” turned forwards to compete with Plaintiffs’ l\/larks and
Names (defined below) before Plaintiffs called Defendant John Legge and told him they
would not transfer the mark to him or his wife, and that they no longer wanted to allow
Answering Defendants to become 50/5() owners of the “Krrukle, lnc.” enterprise (Grooms
Decl., at il 44; Phelan Decl., at il 36), WHEREAS Answering Defendant lohn Legge
testified that he never made that statement to Sean and Devin Mercado. (.l. Legge Depo.,
at page 107, lines 8-21).

Answering Defendants’ entire defense rests on these factual differences and the implications
they ask this Court to draw from them. However, as explained below, each of Answering

Defendants’ different accounts lack credibility and/or relevance to this Court’s instant inquiry

1. Plaintiffs’ Clairns For F ederal and State Unfair Competition Wiil Succeed.

Contrary to Answering Defendants’ assertion, this is not simply a business dispute over who
has the right to use the “Knukle” hrand; Plaintiffs or Answering Defendants. lt is a federal lawsuit
brought by the rightful owners ofthe trademarks and trade names “Knui<le lnc”, “Knukle, lnc.” and
“Knukle” (the “Marks and Nalnes”) with the second “k” turned backwards against a corporation
and its principals who were selling, before this Court granted Plaintiffs’ Application, infringing
merchandise that they misappropriated from Plaintiffs brandishing the l\/larks and Names at issue
with the second “k” in c‘i<lnukle” turned forwardsl

A plaintiff may show that it is likely to succeed on the merits of its trademark infringement
claim under the Lanham Act by establishing that (1) it has a valid, protectable trademark,” and (2)
defendant’s “use of the mark is likely to cause confusion.” See Applied lnfo. Sciences Corp. v.
eBay, lnc., 511 F.3d 966, 969 (9th Cir. 2007). An action for competition under Cal. Bus. & Prof.
Code section i7200 is L‘substantialiy congruent” to a trademark infringement claim under the
Lanham Act. lnt’l Order of.lol)’s Daaghters v. Lindenl)arg and Co., 633 F.2d 912, 916 (9th Cir.
198()). As noted by this Court, “‘Plaintiffs must consequently prove priority of use in order to
establish their ownership of the Knukie mark.” (Order on Plaintiffs’ Motiori for a Ternporary

Restraining Order dated l\/larch l'l, 2009, page 6, lines 17-24).

Page 5
Ri£l’l_.Y ll\l SUPP(')R']' Ol"` PLAil\ii"IFFS" i\/IGT`[()N Z`*`OR PR§;§Lll\/IINARY lNJUNC"l`lON

 

CASE NO. 09CV0489 IEG POR

 

Case

3:09-cV-OO489-|EG-WVG Document 34 Filed 03/31/09 Page|D.897 Pagerf 17

Answering Defendants concede that Plaintiffs first created the Marks and Narnes. (J. Legge
Decl., at il 2; G. Legge Deci., at ‘§l 2; .i. Legge Depo., at page 16, lines 16-25, and pages 17-18).
Answering Defendants do not even dispute in either of their Oppositions that their marks and names
are confusineg similar to Plaintiffs’ l\/larks and Names. i`o avoid liability for unfair competition,
Answering Defendants rely on one argnnient; namely, that they have an ownership interest in the
l\/larks and Names. Answering Defendants rest their entire defense on this one point that is
controverted by Plaintiffs’ evidence, and consequently, legally insignificant

Answering Defendants argue that Plaintiffs have no standing to bring a claim under the
Lanham Act because Plaintiffs have no registered rnark. (First Opposition, page 6, lines 6-l1). 'E"his
Court and the Ninth Circuit disagree and have held that unregistered marks deserve protection
under the Lan_ham Act. (See Kendm'l-Jackson Wz'nery, Ltci. v. E. & J. Gallo Wi`nery, 150 F.3d 1042,
1047 n.7 (9th Cir. 1998), and this Court’s Order on Plaintiffs’ Motion for a Temporary Restraining
Order dated l.\/[arch 17, 2009, pages 7 and 8).

Answering Defendants claim that because Plaintiffs’ application remains an lntent to Use
application, Plaintiffs cannot prevail on their claims under federal or state laws to the extent
Plaintiffs rely on that application (Second Opposition, page 7, lines l5~17). Answering Defendants
fail to consider all of the facts in this case and common law trademark theory. As noted by this
Court, “Wlien more than one user claims the exclusive right to use an unregistered trademark,
priority is determined by the first actual use of the mark in a genuine commercial transaction.”
Entergency One, [nc., v. Ant. Ft`re Eagfe Engl`ne CO., Inc‘. 332 F.Bd 264, 267 (4th Cir. 2003).
Plaintiffs submitted evidence that they first used the l\/larks and Names in commerce or our about
.luly 30, 2008 and made their first internet sale on August 7, 2008 ~ more than a month before they
met Answering Defendants. Answering Defendants offer no evidence and allege no facts to
contradict Plaintiffs’ evidence Accordingly, Plaintiffs own the Marks and Names.

T he only remaining question is whether Plaintiffs agreed to assign and did so assign their
ownership interest in the Marks and Names to Knui<le Two. Answering Plaintiffs’ federal intent to

Use application for the mark, “Knukle” with the second “k” backwards, remains in Plaintiffs’

Page 6
REPLY IN SUPPOR'I" Ol" PI_,AYN'E`IFI"S" t\/IO'§`ION l'~`OR PREIJ[MINARY lNJUNCTlON

 

CASE NO. 09€\/0489 IEG POR

 

Case

3:09-cV-OO489-|EG-WVG Document 34 Filed 03/31/09 Page|D.898 Page 10 of 17

nanies; not Knukle Two. (Grooins Decl., at l 5, and attached thereto is a true and correct copy of
the same as §xhibit “1”; Phelan Decl., at ll 3). Plaintiffs have declared under oath that they did not
agree to transfer their ownership interests in the l\/larks and Names to Knukle Two. (Phelan Supp.
Decl., at 11 3). In fact, Plaintiffs have declared under oath that they did not even know Knukle 'fwo
was formed until February 2009 after they retained their current counsel who showed them the print
out from the California Secretary of State’s website confirming as much. (Phelan Supp. Decl., at 11
3).

i)espite Plaintiffs’ declarations, Answering Defendant Gwen Legge declares that she never
demanded that the l\/larks and Names he assigned her individually (G. Legge Decl., at 11 31). ln
addition, Answering Defendants .lohn and Gwen Legge and Defendants Sean Myers and Devin
Mercado have declared under oath that Plaintiffs did, in fact, agree verbally to transfer their
common law rights to the l\/larks and l\lames to Knukle "l"wo. (J. Legge Decl., at §§ 7; G. Legge
Decl.7 at ‘l 7; Declaration of Devin l\/lercado, at il 13; Declaration of Sean l\/lyers, at 11 13).

While there can be no argument that the introduction of documentary material such as
assigninents, bills of sale, etc. properly identified and made of record is the generally acceptable
method of establishing ownership of and/or succession of trademarks, Answering Dei`endants have
produced no such documentary material and have conceded that the sarne does not exist (J. Legge
Deci., at 11 7, 8; G. Legge Decl., at il 7, 8; J. Legge Depo., at page 42, lines 17-25, page 43, lines 1-

3). Accordingly, Answering Defendants’ sole argument is whittled down to the following:

a. lf Plaintiffs agreed verbally to assign the l\/larks and Names to Knukle Two (which is
disputed); AND

b. if Answering Defendants invested money into designs comprising the l\/larl<s and Names
thereafter based on an oral agreement (the contents of which are disputed); THEN

c, Answering Defendants did not unfairly compete with Plaintiffs

Answering Defendants’ First and Second Oppositions are chalked full of conclusory diatribe
and smearing unprofessional allegations directed toward Plaintiffs and their counsel. Moreover,
Answerlng Defendants’ opposition lacks even the slightest authority primary or seeondary, to

support their limited arguments Answering Defendants’ First and Second Oppositions only serve
Page 7
REPLY ltv soPPoRT or PL/\INTIFFS1 Mo'rtoN ron PRELI;\»HNARY lt\nuNC'l`loN

 

CASE NO. 09CV0489 lEG POR

 

Case

[\.J

143

3:09-cV-OO489-|EG-WVG Document 34 Filed 03/31/09 Page|D.899 Page 11 of 17

to show this Court that they invested money into designs and clothing containing the “Knuf<le lnc",
“Knukle, lnc.” and “Knukle” marks based on a nebulous oral agreement for 50/5 0 ownership of the
“Knukle, lnc.” enterprise What they ignore is that Plaintiffs submitted declarations and vast
amounts of other documentary evidence to that effect in their Application. Furthermore, Answering
Defendants used this investment to manufacture and distribute infringing goods This was not a

novel concept to this Conrt when lt granted Plaintiffs ’ Application.

in addition, long-standing primary and secondary authority in this area undercuts the
validity of the first and second premises of Answering Defendants’ sole argument Under similar
facts, circuit courts have held that “One who is the owner of a trade-mark does not, by entering into
a partnership and permitting the use of the trade-mark by the partnership, transfer his interest in the
trade-mark to the firm.” E.F. Priehard Co. v. Constoners Brewt'ng Co., 136 F.2d 5 l 2, 52l (dth Cir.
.1943),' Kz`dd v. John.s*on, 100 U.S. 6l 7 (1879)`. lt has been similarly held that “[w]hen a trade-mark
or trade-name is owned by one who enters into a partnership with another for the manufacture of
the article designated, the title of the trade-mark does not pass to the partnership except by express
agreement.” Greocen v. Bell, ll.`i F. 553, 554 (D_ N_.l. l902)`. Citing aged secondary authority, the

Greaeen Court remarked:

Where one allows the use of his trade-mark on goods manufactured by the firm, that
fact alone does not prevent the use of it, and it may remain the sole property of the
individual owner, and the fact that the property was used by the partnership for the
partnership’s profits does not, of itself, make it the partnership’s property. What the
partnership takes over as its own depends on the terms of the partnership agreement

lcl. at 554 (citations omitted)_

Even if the Court ignored this authority and Plaintiffs’ declarations and found that
Answering Defendants were co-owners of the l\/Iarks and Names, even a co-owner of a trademark
cannot convert co-owned assets to conduct a business that sells merchandise confusingly similar to
the merchandise comprising the co-owned mark for the sole benefit of the appropriating co-owner.
See ld. at 555. Answering Defendants’ “ownership” argument does not change the fact that, after
their falling out with Plaintiffs, they flipped the second “k” in “Knukle” forwards to market and sell

Page 8
REPLY IN SUPPOR? OF PI,,AlNTlFFS` l\/lOTlON FOR PREiill\/IINARY lNiUNC'l`lON

 

CASE N0.09CV04891EG POR.

 

Case

3:09-cV-OO489-|EG-WVG Document 34 Filed 03/31/09 Page|D.QOO Page 12 of 17

merchandise that was confusineg similar to Plaintiffs’ Marks and Names for the benefit of Knukle
Two (a corporation, in wkicn, Answering Defendants admit Plainth have no ownership
interest) rising the “www.knukleinc.coni“ domain name and website which Answering Defendants
admit was originally owned by Plaintiffs but has since been improved, appropriated and rligital{y
mo(lcjied by Answering Defendants to erase proof of Plaintiffs’ involvement (J. Legge Depo., at
page 58, lines 16-25, page 59, lines 1-17).

Accordingly, Piain.tiffs wilt likely succeed on their federal and state unfair competition

claims Thus, this Court should grant Plaintiffs continued injunctive relief.

2. Plaintiffs’ Claim For Tortious Interference With Prospective Advantage
Wi!l Succeed.

Answering Defendants defend against this claim of Plaintiffs by arguing they did not
specify any economic relationship that they had with any third parties, of which, Answering
Defendants were aware such that they could he held liabEe to Plaintiffs for tortious interference
Apparentiy, Answering Defendants overlooked the months of work Plaintiffs put into the Mark and
Nanies with their own Co~Defendants Aitillery .Distribution before they first met Plaintiffs
(Grooins Deci., at ‘§ l-lQ; Pheian Decl., at §§ 1-34). They must also not consider the retailers and
other customers who Plaintiffs contacted directly prior to the ASR trade show “potential
customers.” And what about Plaintiffs’ right to attend the ASR trade show, the self touted “iargest
buying event in the action sports industry”; was that not an economic relationship‘? And clearly the
consumers Who visited the www_knukleinc.com wehsite owned by Plaintiffs before Answering
Defendants coopted it, some of whom who have now ordered merchandise bearing infringing
marks to Plainti.ffs’ Marks and Nanies from Answe-ring Defendants, they too must have been
ignored

Answering Defendants need look no further than this Court’s Order on Piaintiffs’ i\/iotion
for Temporary Restraining Order dated March l7, 2009, page 13, to find the “economie

relationships” of which Answering Defendants were aware that supported this Court’s finding that

Page 9
Rif-LPE,Y IN SUPPORT OF PL/\INTIFFS" M()'l`l()l\i I"()R PR[EL,IMlN/\RY INJUNC'I`ION

 

CASE NO, U9CVO489 IEG POR

 

Case ii:OQ-cV-OOA,SQ-|EG-WVG Document 34 Filed 03/31/09 Page|D.QOl Page 13 of 17

 

Plaintiffs were likely to succeed on the merits of their tortious interference cIaim. Accordingiy, this

Couit should grant Plaintiffs’ request for continued injunctive relief.

3. i’laintiffs’ Claim F or Conversion Wiil Succeed.

ln their Secon.d Opposition, Answering Defendants provide only three (3) sentences in their
brief devoted to responding to Plaintiffs’ claim for conversion: the first sets forth the elements of
conversion; the second claims that Plaintiffs “converted the website purchased by Legge” and
“fraudulently induced” Legge to invest in Knukle 'l`wo; and the third claims that “Plaintiffs walked
away from that deal.” (Secoiid Opposition, page 9, lines l l~lS).

With respect to the first sentence, the elements of a claim for conversion under California
law are settled. That is not a defense

As for the second sentence Plaintiffs are not sure how unsubstantiated claims of Plaintiffs’
alleged conversion and fraudulent inducement are defenses to their conversion Answering
Defendants do not attempt to explain the relevance of their unsupported claims. Accordingly,
Plaintiffs can only guess that Answering Defendaiits are relying on their sole argument once more

Oddly, Answering Defendants concede that Plaintiffs first purchased the domain name
“www.knukleinc.com”, developed a wehsite there, first developed the Marks and Names,
contributed to the designs and artwork for merchandise bearing the Marks and Names, and admit
that they are still in sole possession and control (to Plaintiffs’ exclusion) of the domain nanie,
website, designs, and artwork necessary for producing for sale merchandise brandishing the Marks
and Names. (J. Legge Decl_, at il 1-5; G. Legge Decl., at *f 1-6; J. Legge Depo., at pages 33-38, and
pages 50-52, l6, lines 16-25, pages i7-l 8; Declaration of Sean l\/iyers, at il 29; Declaration of Sean
Myers, at il 29). However7 they also argue that Plaintiffs’ claim for conversion should fail.

Plaintiffs have an undeniable ownership right to possess the property Answering Defendants
currently control. Answering Defendants took that property away from Plaintiffs by acts of deceit
and in furtherance of their infringing enterprise Even if this Court sided entirely with Answering
Defendants and held that Plaintiffs were only 50/50 owners of that property, Answering Defendants
do not have a right to exclude Plaintiffs from that property and then use that property to sell

Page lU

REPLY IN SUPPUR‘I` OF Pl,AlNTZFl'-`S’ l\/[OTION §~`OR PRE§I¢.IMINARY lNJUNCTION
CASE NO. UQCV(MS‘) IEG POR

 

Case

>_»

3:09-cv-OO489-|EG-WVG Document 34 Filed 03/31/09 Page|D.QOZ Page 14 of 17

merchandise for the benefit of Knukle Two, a corporation, in which, Answering Defendants

concede Plaintiffs have no ownership interest

With respect to the third sentence Answering Defendants do not specify which “deal”
Plaintiffs “walked away from,"‘ or why this is legally significant ln addition, Answering
Defendants misquote Plaintiffs as support for their ambiguously relevant comment Plaintiff l ames
Grooms’ entire quote is L‘lrnmediately thereafter, and through the present, Brycee Phelan and l
terminated all further contact with Gwen and John Legge and Artillery Distribution so as to give as
lime to consult with an attorney to determine oarfufure course of action.” Plaintiffs have walked
away from nothing Plaintiffs are suing Answering Defendants for conversion after only months
following the date of the alleged conversion

Answering Defendants1 argument, to the extent it is intelligible fails for the same reasons
set forth above in Plaintiffs’ coverage of Plaintiffs’ claims for federal and state unfair competition
and tortious interference with prospective advantage Accordingly, this Court should grant

Plaintiffs’ continued injunctive relief.

4. Plaintiffs’ Claim For Cybersquatting Will Sllcceed.

Answering Defendants do not dispute that they registered, used, and/or trafficked in the
“www.knukieinc.com“ domain name which was identical to Plaintiffs’ distinctive Marks and
Names. Answering Defendaiits dispute the Court’s finding that they converted the domain name in
bad faith based upon their position that the domain name was allegedly supposed to be assigned to
Knukle ’l“wo via oral agreement Tiiis argument fails for the same reasons set forth above in the
summary of Plaintiffs’ claims for federal and state unfair competition Accordingly, this Court

should grant Plaintiffs’ Application for a preliminary injunction

C. Answering Defendants’ Controverted Facts Should Not impact This Court’s
Irreparable Harm Or Balancing of the Hardships Analyses.

As noted by this Court, “ln trademark infringement or unfair competition actions, once the
plaintiff establishes a likelihood of confusion, it is ordinarily presumed that the plaintiff will suffer
irreparable harm if injunctive relief is not granted.” Vision Sports, [ne. v. Melvi'lle Corp., 888 F.3d

Page l l
REPLY l?\l SUPPORT OF PI.AINI`IFFS’ MOT§ON FOR PRELIM!NARY lNJUNCTION

 

CASI§ NO. 09CV0489 lEG POR

 

Case

3:09-cV-OO489-|EG-WVG Document 34 Filed 03/31/09 Page|D.QOS Page 15 of 17

609, 612 n.3 (9th Cir. l989). With respect to the balancing of hardships inquiry, this Court cited the
same cases relied on by Plaintiffs in their Application for the finding that “defendants do not have a
right to reap profits from marketing work that infringes plaintiffs’ trademark.” (Order on Plaintiffs’
l\/Iotion for a Temporary Restraining Order, page l6, lines 3 through 2}; citing Hoimciil Corp. v.
Von$ Money Pie Ine., 1998 WL 388389 at *8 (N.D. Cal. April i6, 1998; and Codenee Design Sys.,
125 F.Sd at 830).

Plaintiffs will not repeat the arguments set forth in Plaintiffs’ Application in Sections V and
X thereof, nor the facts respecting the evidence of actual confusion already manifest among the
buying public. However, Plaintiffs respectfully request this Court to consider the fact that Plaintiffs
have received further correspondence from companies asking about the whereabouts of their
shipments of clothing, and further, correspondence from individuals who claim to have been
offered a job with Knukle Two but want further clarification about the details of this lawsuit before
they decide to accept Answering Defendants’ offer for employment (Phelan Supp. Decl., at il 4).

in addition, to the extent that this Court needs further evidence that the harm Plaintiffs will
suffer will be irreparable and greater than any harm Answering Defendants will suffer if this Court
Was to grant Plaintiffs’ a preliminary injunction, Plaintiffs would also like to inform this Court that
Answering Defendants have claimed to be preparing to start a different clothing company going “in
an entirely different direction,” that they have taken current orders for “Knukle lnc” (with a
forwards “k”) merchandise that they have no plans of tilling, and that they no longer want to house
their infringing inventory and have requested that Plaintiffs purchase the same at cost. (Declaration
of Michelle l\/lcCliman (“McCliman Decl.”), at ii 2; Supplemental Declaration of Christopher
Villasenor, Esq_ (“Villasenor Supp. Decl.”), at il 2; .l. Legge Depo., at page 96, lines 7-12).

Actuai confusion as to the origin of the Marks and Narnes persists, and just as Plaintiffs
feared, Answering Defendants admit that they are not going to fill orders from first time purchasers
of “Knukle lnc” merchandise which will no doubt threaten the value and continued viability of the
l\/larks and Names. At the same tiine, Answering Defendants audaciously request that Plaintiffs

purchase their infringing goods, and they are surprised when Plaintiffs refuse settlement proposals

Page 12
R['~)Pl_,Y IN SUPPORT OF PL/\lN"i'IF[`-`S’ M()"¥`I()N FOR PRELIMINARY INJUNCTION

 

CASE NO. 09€\/0489 IEG POR

 

Case

s..._‘

L»)

3:09-cV-OO489-|EG-WVG Document 34 Filed 03/31/09 Page|D.904 Page 16 of 17

that would exacerbate confusion and allow Answering Defendarrts to profit from their unlawful
conduct6 l\/loreover, as Answering Defendants apparently do not intend on filling the orders they
currently have for “Knukle lnc” merchandise, and they further want to purge their office of
infringing merchandise seemingly to spend more time on their “new venture,” it seems clear that
they will suffer no hardship in being ordered to do or enjoined from doing precisely what they
planned on doing in the first place. ln addition, in light of the factual setting of this case, Plaintiffs
question the propriety of this “new venture,” and whether Answering Defendants will be using the
trade secrets, confidential information, and/or relationships they appropriated from Plaintiffs to
conduct the operations of this ‘“new ventur'e.”

"l`herefore, this Court should, to avoid irreparable harm to Plaintiffs, a harm that on balance
clearly outweighs any harm Answering Defendants’ may suffer, grant the requested preliminary

inj unction.

D. The Bond Already Posted By Plaintiffs As Ordered by This Court Should Stand.

Based on the fact that Answering Defendants have declared that Knuide Two has made no
money, filled few orders, will not fill others, desires to purge itself of its infringing inventoryj and
further that Answering Defendants lohn and Gwen Legge plan to start a “new veriture” in a
“different direction”, it follows that continued injunctive relief will not cause them any legally
recognizable economic or other harm to Answering Defendants. Accordingly, it is respectfully
requested that the Court require that Plaintiffs post no further bond in connection with the requested

injunctive relief

 

6 Answering Defendants" discussion in their Second Opposition (page 2, linele-ZZ, and page 3, lines 1-2) and l‘\/ls.
l\/fichelle l\/lcCliman’s declaration (Declaration of l\/lichelle l\/lcCliman, Esq. (“l\/lcCliman De-cl.”), at F 2~4) regarding
the contents of their settlement discussions with Plaintiffs’ counsel is not only misleading and prejudicial but also
excludable pursuant to Federal Rules of Evidence, Rule 408. Plaintiffs offer only this limited reply to protect
themselves against the prejudice that would result from this Court’s consideration of Answering Defendants’ version of
those discussions Admittedly, Answering Defendants’ counsel asked Plaintiffs’ counsel to agree to place a landing
page on the website at www.knukleinc.coin (the same website that Answering Defendants were ordered to turn over to
Plaintiffs in this Cour‘t’$ Order) that would direct visitors to Plaintiffs1 separate “Knukle lnc” website and to Answering
Defendants’ separate website. This proposal would not eliminate confusion as to the rightqu owner of the donrain,
l\/iarks and Names, and was rejected Opposing counsel failed to provide any alternative proposals {Viliasenor Snpp.
Decl_, at il 3). When Plaintiffs refused Answering Defendants’ proposal their counsel then claims that this was a “clcar
indication" of Plaintiffs’ motivation to extort money from Answering Defendants. This is as ridiculous1 irrelevant and
wholly improper.
Page l3
alarm in suPPoa'r or PLAu\:rlr-‘Fs’ Mo'no:~i roa Pr'<ri:r,ierNAnv injunction

 

CASE NO. G9CV0489 IEG POR

 

Case

3:09-cV-OO489-|EG-WVG Document 34 Filed 03/31/09 Page|D.QOB Page 17 of 17

E. Plaintiffs Request Further Injunctive Relief to Avoid Further Irreparable Harrn
Based Upon New lnformation.

Since the filing of Plaintiffs’ Cornplaint and Application for femporary Restraining Order
filed with this Court on l\/larch ll, 2009, Plaintiffs’ have obtained additional information through
numerous discussions and correspondence with opposing counsel, expedited discovery, and review
of Answering Defendants’ First and Second Oppositions and supporting declarations Plaintiffs
have recently learned that Answering Defendants are planning to start a different clothing company
going c‘in an entireiy different direction,” that they have taken current orders for “Knul<le lnc” (with
a forwards “lt”) merchandise that they have no plans of filling, and that they no longer want to
house their infringing inventory and have requested that Plaintiffs purchase that inventory at cost.
(Declaration of i\/lichelle l\/lc-Cliinan (“McCliman Deci.”), at il 2; Viilasenor Supp. Deci., at il 2; J.
Legge Depo., at page 96, lines 7-}2). fn addition, as this injunction, if granted, will last through
final disposition of this matter, Plaintiffs deem it necessary to amend and supplement the mandatory
and prohibitory injunction it originally requested in their Appiication.

Accordingly, Plaintiffs respectfully submit herewith a Proposed Order for Preiiininary
injunction with the intent to provide Plaintiffs with the relief necessary to protect the goodwill and
reputation of the l\/larl<s and Names through trial.

III. CONCLUSI()N

For the reasons set forth above, Plaintiffs respectfully request that this Court to grant them a

Prelirninary lnjunction pending trial and maintain the bond at $i0,000.

Respectfully Submitted,

DATED; silerl€a@l cA'rALYsr LAW oRooP

firmlan

Christopher Viliasenor
Attorney for Plaintiffs
lAl\/IES GROOMS, BRYCEMAI{IE PHELAN and
KNUKLE, lNC., A COLORADO CORPORATION

i’age 14
millle fN SU§’P()RT Gi" PLAlN'l`ll"`l"`S` MOTION FOR l)l{til..ll\/IZNARY INJLFNCTION

 

CASE NO. O9CV0489 lEG POR

 

